                   Case 22-3128, Document 64,
              Case 1:22-cv-01013-GLS-DJS      03/28/2023,
                                          Document        3490756,
                                                     55 Filed      Page1
                                                              03/28/23   of 1 1 of 1
                                                                       Page



                                                                                                N.D.N.Y.
                                                                                               22-cv-1013
                                                                                                Sharpe, J.

                                 United States Court of Appeals
                                                    FOR THE
                                             SECOND CIRCUIT
                                             _________________

                     At a stated term of the United States Court of Appeals for the Second
       Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
       in the City of New York, on the 28th day of March, two thousand twenty-three.

       Present:
                      Robert D. Sack,
                      Raymond J. Lohier, Jr.,
                      Susan L. Carney,
                            Circuit Judges.

       Variscite NY One, Inc.,

                                     Plaintiff-Appellee,

                      v.                                                          22-3128

       State of New York, et al.,

                                     Defendants-Appellants.


       Appellants move for a stay, pending appeal, of the preliminary injunction issued by the district
       court. In the alternative, Appellants move for an order narrowing the preliminary injunction
       pending appeal. Upon due consideration, it is hereby ORDERED that the motion is GRANTED
       in part. See In re World Trade Ctr. Disaster Site Litig., 503 F.3d 167, 170 (2d Cir. 2007); see
       also Nken v. Holder, 556 U.S. 418, 434–35 (2009). The district court’s injunction is modified so
       that it bars the issuance of conditional adult-use retail cannabis dispensary licenses only in the
       Finger Lakes region. See Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087–88
       (2017) (per curiam) (granting stay application in part and modifying injunction to narrow the
       injunction’s scope). It is further ORDERED that the Clerk of the Court issue an expedited
       briefing schedule.

                                                    FOR THE COURT:
                                                    Catherine O’Hagan Wolfe, Clerk of Court




CERTIFIED COPY ISSUED ON MARCH 28, 2023
